                            United States District Court for the Southern District of Iowa

Presiding: Honorable Robert W. Pratt
Case No. 4:21-cv-00264                                      : Clerk’s Court Minutes – Motion Hearing
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Plaintiff(s)                                               : Defendant(s)
                                                           :
The Arc of Iowa et al.                                     : Kim Reynolds et al.
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Plaintiff(s) Counsel: Thomas J. Duff, John A. Freedman, Catherine E. Johnson, Cynthia A. Miller, Leah D.
                      Patton

Defendant(s) Counsel: Kristy M. Latta, Samuel P. Langholz

Court Reporter: Tonya Gerke                                 :   Interpreter: N/A
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Motion(s) for Ruling:                                                            Ruling           /     Ruling Reserved
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Motion for Temporary Restraining Order [3]                                                        :        Reserved
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Proceedings:
10:00 a.m. Court in session. Plaintiffs present argument regarding [3] Motion for Temporary Restraining Order.
10:02 a.m. Plaintiffs offer Exhibit Declarations; admitted. 10:34 a.m. Defendants Reynolds and Lebo present
argument on the Motion. 11:09 a.m. Defendant Community School Districts Ankeny, Council Bluffs,
Davenport, Decorah, Denver, Des Moines, Johnston, Linn Mar, and Waterloo decline argument on the Motion.
11:10 a.m. Plaintiffs present rebuttal argument. 11:24 a.m. The Court will consider the matter submitted.




Time Start: 10:00 a.m.
Time End: 11:24 a.m.
Date: September 10, 2021                                                                  /s/ K. Whitaker
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                                                                                          Deputy Clerk
